Case: 5:22-cv-01454-CEH Doc #: 32-2 Filed: 03/29/24 1 of 2. PagelD #: 223

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FPGA Land egntestalpaa.tand>
To: {rsi@timi.net

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Karl rorsoil <lorcec@gmall. con

ORDER eA

Thank you for your purchase!

Hi Carl, we're galling your order ready to be shipped, We will notify you when tt
has been sent

Order summary

1G68

Customer information

shipping address

Carl Forsell

8 St Martin's DF

#03-21 St Martin Residence
Singapore 26005
Singapore

Shipping method
Worldwide

or Visit our store

VOU1826 - Blockchaln Edition (Wiih Mods) x 4 544, 400.00

subtotal $14,400.00
Shipping $130.64

Tolal $14,530.64 USD

Bliting address

Carl Forsell

8 St Martin's Dr

#03-21 St Marlin Residence
Singapore 258005
Singapore

payment mathod
Manual — $14,630.64

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